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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 12-CR-000140-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     MICHAEL DESTRY WILLIAMS,

       Defendant.


                        GOVERNMENT’S MOTION TO DISCLOSE
                        GRAND JURY MATERIAL TO DEFENDANT


       The UNITED STATES OF AMERICA, by and through its undersigned counsel,

respectfully moves the Court, pursuant to Fed. R. Crim. P. 6(e)(3)(E)(I), for an order authorizing

the Government to disclose grand jury testimony and exhibits, as well as other materials

obtained through the grand jury, to the Defendant and to his advisory and standby counsel, as

well as any attorney who may come to represent him in this case, as part of discovery in this

case, on the terms and conditions outlined below.

       AS GROUNDS for this motion, the Government states as follows:

       1.      Fed. R. Crim. P. 6(e), with various exceptions, prohibits the disclosure of "matters

occurring before the grand jury."

       2.      The Government wishes to provide discovery to the Defendant, but some of the

documents are grand jury transcripts and exhibits or may be materials reflecting matters

occurring before the grand jury.
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       3.      Fed. R. Crim. P. 6(e)(3)(E)(I) allows for Court-authorized disclosure of matters

occurring before a grand jury, when such disclosure is "preliminarily to or in connection with a

judicial proceeding."

       4.      The pending case against the Defendants is a "judicial proceeding" and the

requested disclosure is "in connection with" such proceeding. The Government wishes to

provide this discovery, but can only do so with the Court's approval.

       5.      Since these proceedings (and the related transcripts and exhibits) remain secret,

see Fed. R. Crim. P. 6(e), the Government moves that disclosure only be allowed for purposes of

defending this case, and that such disclosure only be made to the Defendant and to his advisory

and standby counsel, and any attorney who may come to represent him in this case; that such

transcripts, exhibits and other grand jury material be maintained in the custody of the advisory or

standby counsel, or any successor defense attorney; that such materials shall not be reproduced

or disseminated; and that such materials be returned to the United States at the end of this case.1

       WHEREFORE, the Government prays that the Court authorize the disclosure of grand

jury testimony, exhibits and other materials to Defendant and to those who become his attorney




       1
                Undersigned counsel has exchanged emails with defendant Williams’s standby
and advisory counsel, Martha H. Eskesen, Esq., concerning the general subject of production of
discovery materials to the defense in this case. In these email communications, Ms. Eskesen has
taken the position that discovery and other materials in the case should be sent directly to the
defendant rather than through her and that all communication with the defendant must be directly
with the defendant and not through her as an intermediary.

               Accordingly, defendant’s standby and advisory counsel objects to that portion of
this motion that seeks to entrusts to counsel custody of the grand jury materials that are being
produced to the defense as discovery in this case.

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in this case, and to his standby and advisory counsel, in the course of providing discovery in this

case, on the terms and conditions outlined above.

       Respectfully submitted this 16th day of July 2013.

                                                      Respectfully submitted,

                                                      JOHN F. WALSH
                                                      United States Attorney

                                                      by: s/ Kenneth M. Harmon
                                                      KENNETH M. HARMON
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of July, 2013, I electronically filed the foregoing
GOVERNMENT’S MOTION TO DISCLOSE GRAND JURY MATERIAL TO
DEFENDANT with the Clerk of the Court using the CM/ECF which will send notification of
such filing to counsel at the following e-mail addresses:


Martha H. Eskesen, P.C.
5445 DTC Parkway, Penthouse 4
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Telephone: (303) 486-6938
Facsimile: (303) 573-4921
E-mail: meskesen@eskesenlaw.com


   And I hereby certify that I have caused a copy of the foregoing to be mailed, by U.S. Mail, to
defendant Michael Destry Williams at the following address:

Michael Destry Williams
GEO Aurora Detention Center
3130 North Oakland Street
Aurora, CO 80010

                                              s/ Kenneth M. Harmon
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